              Case 22-51617-jwc                     Doc 13            Filed 05/26/22 Entered 05/26/22 18:25:11                Desc Main
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 Fill in this information to identify your case:

 Debtor 1                 Christian Lee Washington
                          First Name                        Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number           22-51617
 (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1                Debtor 2 Prior Address:             Dates Debtor 2
                                                                lived there                                                       lived there
        10 Perimeter Park Dr                                    From-To:                          Same as Debtor 1                   Same as Debtor 1
        00000-0303                                              02/2017-03/2020                                                   From-To:



        3010 Clear View Lane                                    From-To:                          Same as Debtor 1                   Same as Debtor 1
        Snellville, GA 30078                                    03/2020-11/2020                                                   From-To:



        730 Vinings Estates Dr                                  From-To:                          Same as Debtor 1                   Same as Debtor 1
        Mableton, GA 30126                                      11/2020-08/2021                                                   From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1


                                                                           Christian Washington
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 Part 2       Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                  Gross income                 Sources of income            Gross income
                                                   Check all that apply.              (before deductions and       Check all that apply.        (before deductions
                                                                                      exclusions)                                               and exclusions)

 For the calendar year before that:                   Wages, commissions,                           $70,900.00       Wages, commissions,
 (January 1 to December 31, 2020 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                            $-47,893.00      Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                  Gross income from            Sources of income            Gross income
                                                   Describe below.                    each source                  Describe below.              (before deductions
                                                                                      (before deductions and                                    and exclusions)
                                                                                      exclusions)
 For the calendar year before that:                Pensions and                                     $18,443.00
 (January 1 to December 31, 2020 )                 Annuities (sale/cash
                                                   out)


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




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                                                                       Christian Washington
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            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment                   Total amount      Amount you         Was this payment for ...
                                                                                                           paid        still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment                   Total amount      Amount you         Reason for this payment
                                                                                                           paid        still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment                   Total amount      Amount you         Reason for this payment
                                                                                                           paid        still owe        Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
                                                                                                                                             Cw
            Yes. Fill in the details.                                                                                                       ID aquDHrt4mrQ3YQEbidCWW1Qf

       Case title                                               Nature of the case                 Court or agency                      Status of the case
       Case number
       Soukeyna Diouf v. Christian Lee                          Divorce                            Superior Court of Gwinnett              Pending
       Washington                                                                                  County                                  On appeal
       21-A-05877-11                                                                               75 Langley Drive
                                                                                                                                           Concluded
                                                                                                   Lawrenceville, GA 30046


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                          Date                           Value of the
                                                                                                                                                                 property
                                                                Explain what happened




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                                                                     Christian Washington                                                                  Best Case Bankruptcy

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11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Holston & Huntley, LLC                                         attorneys fees                                                                      $1,800.00
       3350 Riverwood Parkway
       Suite 1590
       Atlanta, GA 30339



                                                                         Christian Washington
                                                                         ID aquDHrt4mrQ3YQEbidCWW1Qf
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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                         Amount of
       Address                                                        transferred                                             or transfer was                       payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or               Date transfer was
       Address                                                        property transferred                      payments received or debts             made
                                                                                                                paid in exchange
       Person's relationship to you
       Soukeyna Diouf                                                 3010 Clear View Lane
       3010 Clear View Lane                                           Snellville GA 30078
       Snellville, GA 30078                                           Property was purchased and
                                                                      owned by Ms. Diouf prior to
       Ex-wife                                                        marriage. During marriage,
                                                                      Debtor was added to title.
                                                                      Ms. Diouf received Debtor's
                                                                      interest during the divorce                              Cw
                                                                                                                              ID aquDHrt4mrQ3YQEbidCWW1Qf
                                                                      proceeding. Settlement
                                                                      agreement and divorce
                                                                      decree has been provided to
                                                                      trustee.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                                Date Transfer was
                                                                                                                                                       made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was                        Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,                       before closing or
       Code)                                                                                                            moved, or                                    transfer
                                                                                                                        transferred
       USAA                                                     XXXX-                         Checking                  2021                                         $200.00
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




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       Name of Financial Institution and                        Last 4 digits of               Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument                   closed, sold,            before closing or
       Code)                                                                                                                moved, or                         transfer
                                                                                                                            transferred
       USAA                                                     XXXX-                              Checking                 2021                              $200.00
                                                                                                   Savings
                                                                                                   Money Market
                                                                                                   Brokerage
                                                                                                   Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                 have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6


                                                                            Christian Washington
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25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                            Nature of the case                   Status of the
        Case Number                                                   Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business                   Employer Identification number
        Address                                                                                                       Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                      Dates business existed
        Washington Consulting                                   Assisted people with their Apple                      EIN:
        1631 Wihte Cir                                          Products
        Apt 6107                                                                                                      From-To    2019-2020
        Marietta, GA 30066                                      All Access Tax


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Christian Lee Washington                   Christian Washington
                                               ID aquDHrt4mrQ3YQEbidCWW1Qf
 Christian Lee Washington                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date      May 24, 2022               5/25/2022                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7
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   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8
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 Fill in this information to identify your case and this filing:

 Debtor 1                   Christian Lee Washington
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number           22-51617                                                                                                                             Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes
                                               Cw
                                              ID aquDHrt4mrQ3YQEbidCWW1Qf
  3.1      Make:       Lexus                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      IS200T                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Year:       2016                                          Debtor 2 only                                            Current value of the      Current value of the
           Approximate mileage:                 75084                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                              $18,204.00                 $18,204.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $18,204.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                         Schedule A/B: Property                                                                       page 1
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                                                                          Christian Washington
                                                                         ID aquDHrt4mrQ3YQEbidCWW1Qf
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 Debtor 1       Christian Lee Washington                                                            Case number (if known)     22-51617
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Computer, phone, tablet                                                                                      $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing                                                                                                       $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $1,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.



Official Form 106A/B                                                    Schedule A/B: Property                                                         page 2
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                                                                       Christian Washington
                                                                      ID aquDHrt4mrQ3YQEbidCWW1Qf
             Case 22-51617-jwc                                   Doc 13              Filed 05/26/22 Entered 05/26/22 18:25:11                                  Desc Main
                                                                                    Document      Page 11 of 19
 Debtor 1         Christian Lee Washington                                                                                          Case number (if known)   22-51617
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash                                  $1,000.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                SunTrust                                                                     $437.20



                                              17.2.       Savings                                 Suntrust                                                                     $550.00



                                              17.3.       Checking                                Charles Schwab                                                                 $85.25


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):



Official Form 106A/B                                                                       Schedule A/B: Property                                                                  page 3
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                                                                                              Christian Washington
                                                                                             ID aquDHrt4mrQ3YQEbidCWW1Qf
            Case 22-51617-jwc                       Doc 13            Filed 05/26/22 Entered 05/26/22 18:25:11                           Desc Main
                                                                     Document      Page 12 of 19
 Debtor 1       Christian Lee Washington                                                                      Case number (if known)   22-51617
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                         Surrender or refund
                                                                                                                                          value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..




Official Form 106A/B                                                    Schedule A/B: Property                                                               page 4
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                                                                       Christian Washington
                                                                       ID aquDHrt4mrQ3YQEbidCWW1Qf
             Case 22-51617-jwc                             Doc 13             Filed 05/26/22 Entered 05/26/22 18:25:11                                               Desc Main
                                                                             Document      Page 13 of 19
 Debtor 1         Christian Lee Washington                                                                                              Case number (if known)   22-51617

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                 $2,072.45


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                         $0.00
 56. Part 2: Total vehicles, line 5                                                                           $18,204.00
 57. Part 3: Total personal and household items, line 15                                                       $1,500.00
 58. Part 4: Total financial assets, line 36                                                                   $2,072.45
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $21,776.45              Copy personal property total             $21,776.45

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $21,776.45




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 5
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                                                                                     Christian Washington
                                                                                    ID aquDHrt4mrQ3YQEbidCWW1Qf
               Case 22-51617-jwc                     Doc 13            Filed 05/26/22 Entered 05/26/22 18:25:11                             Desc Main
                                                                      Document      Page 14 of 19
  Fill in this information to identify your case:

  Debtor 1                Christian Lee Washington
                          First Name                         Middle Name                   Last Name

  Debtor 2
  (Spouse if, filing)     First Name                         Middle Name                   Last Name


  United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

  Case number           22-51617
  (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing


 Official Form 106C
 Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
 the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
 needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
 case number (if known).

 For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
 specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
 any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
 funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
 exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
 to the applicable statutory amount.

  Part 1:        Identify the Property You Claim as Exempt

  1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

            You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

            You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

  2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
       Brief description of the property and line on            Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own
                                                                Copy the value from     Check only one box for each exemption.
                                                                Schedule A/B

       2016 Lexus IS200T 75084 miles                                   $18,204.00                                  $5,000.00     O.C.G.A. § 44-13-100(a)(3)
       Line from Schedule A/B: 3.1
                                                                                              100% of fair market value, up to
Cw                                                                                            any applicable statutory limit
ID aquDHrt4mrQ3YQEbidCWW1Qf

       2016 Lexus IS200T 75084 miles                                   $18,204.00                                  $9,127.55     O.C.G.A. § 44-13-100(a)(6)
       Line from Schedule A/B: 3.1
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit

       Computer, phone, tablet                                          $1,000.00                                  $1,000.00     O.C.G.A. § 44-13-100(a)(4)
       Line from Schedule A/B: 7.1
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit

       Clothing                                                            $500.00                                   $500.00     O.C.G.A. § 44-13-100(a)(4)
       Line from Schedule A/B: 11.1
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit

       Cash                                                             $1,000.00                                  $1,000.00     O.C.G.A. § 44-13-100(a)(6)
       Line from Schedule A/B: 16.1
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit




 Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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                                                                                 Christian Washington                                                 Best Case Bankruptcy

                                                                                ID aquDHrt4mrQ3YQEbidCWW1Qf
            Case 22-51617-jwc                       Doc 13            Filed 05/26/22 Entered 05/26/22 18:25:11                                 Desc Main
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 Debtor 1    Christian Lee Washington                                                                      Case number (if known)     22-51617
     Brief description of the property and line on             Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

     Checking: SunTrust                                                  $437.20                                     $437.20        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit

     Savings: Suntrust                                                   $550.00                                     $550.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit

     Checking: Charles Schwab                                             $85.25                                      $85.25        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.3
                                                                                              100% of fair market value, up to
                                                                                              any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                                         Christian Washington
                                                        Schedule C: The Property You Claim as Exempt                                                           page 2 of 2
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              Case 22-51617-jwc                          Doc 13           Filed 05/26/22 Entered 05/26/22 18:25:11                                                Desc Main
                                                                         Document      Page 16 of 19
 Fill in this information to identify your case:

 Debtor 1                   Christian Lee Washington
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number           22-51617
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              21,776.45

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              21,776.45

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              25,875.69


                                                                                                                                     Your total liabilities $                 25,875.69


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                  250.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,080.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                                                                    Christian Washington
                                                                                   ID aquDHrt4mrQ3YQEbidCWW1Qf
            Case 22-51617-jwc                       Doc 13            Filed 05/26/22 Entered 05/26/22 18:25:11                             Desc Main
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 Debtor 1      Christian Lee Washington                                                             Case number (if known) 22-51617

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 $              250.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                                Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                          $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                 $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                       $              0.00

       9d. Student loans. (Copy line 6f.)                                                                        $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                      $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                   +$              0.00


       9g. Total. Add lines 9a through 9f.                                                                  $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                           page 2 of 2
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                                                                      ID aquDHrt4mrQ3YQEbidCWW1Qf
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 Fill in this information to identify your case:

 Debtor 1                    Christian Lee Washington
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number              22-51617
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Christian Lee Washington
                                                    Christian WashingtonX
                                                   ID aquDHrt4mrQ3YQEbidCWW1Qf
              Christian Lee Washington                                                  Signature of Debtor 2
              Signature of Debtor 1

              Date       May 24, 2022 5/25/2022                                         Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Case 22-51617-jwc   Doc 13    Filed 05/26/22 Entered 05/26/22 18:25:11   Desc Main
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eSignature Details

Signer ID:       aquDHrt4mrQ3YQEbidCWW1Qf
Signed by:       Christian Washington BK
Sent to email:   cwashington624@me.com
IP Address:      136.55.89.120
Signed at:       May 25 2022, 12:25 pm HST
